Case 3:21-cv-05541-LK-TLF Document 9 Filed 09/28/21 Page 1 of 12




                                                         3:21-cv-05541-BHS-TLF
Case 3:21-cv-05541-LK-TLF Document 9 Filed 09/28/21 Page 2 of 12
Case 3:21-cv-05541-LK-TLF Document 9 Filed 09/28/21 Page 3 of 12
Case 3:21-cv-05541-LK-TLF Document 9 Filed 09/28/21 Page 4 of 12
Case 3:21-cv-05541-LK-TLF Document 9 Filed 09/28/21 Page 5 of 12
Case 3:21-cv-05541-LK-TLF Document 9 Filed 09/28/21 Page 6 of 12
Case 3:21-cv-05541-LK-TLF Document 9 Filed 09/28/21 Page 7 of 12
Case 3:21-cv-05541-LK-TLF Document 9 Filed 09/28/21 Page 8 of 12
Case 3:21-cv-05541-LK-TLF Document 9 Filed 09/28/21 Page 9 of 12
Case 3:21-cv-05541-LK-TLF Document 9 Filed 09/28/21 Page 10 of 12
Case 3:21-cv-05541-LK-TLF Document 9 Filed 09/28/21 Page 11 of 12
Case 3:21-cv-05541-LK-TLF Document 9 Filed 09/28/21 Page 12 of 12
